  Case 2:20-cv-00929-MWF-PJW Document 1 Filed 01/29/20 Page 1 of 4 Page ID #:1



 1 CHARLES D. NAYLOR, State Bar No. 62243
   LAW OFFICES OF CHARLES D. NAYLOR
 2 A Professional Corporation
   11 Golden Shore Drive, Suite 350
 3 Long Beach, California 90802
   Telephone: (310) 514-1200
 4 Facsimile: (310) 514-1837
   E-Mail:      cnaylor@naylorlaw.com
 5
   In Association with:
 6
   Aksana M. Coone, State Bar No. 190125
 7 LAW OFFICES OF AKSANA M. COONE
   1801 Century Park East, Suite 2400
 8 Los Angeles, CA 90067
   Telephone: (310) 556-9650
 9 Facsimile: (310) 954-9008
   E-mail:       Aksana@Coonelaw.com
10
   Attorneys for Plaintiff, ARTHUR L. CHAROW
11
12                           UNITED STATES DISTRICT COURT

13                            CENTRAL DISTRICT OF CALIFORNIA

14 ARTHUR L. CHAROW,                              CASE NO. 2:20-cv-00929

15
                 Plaintiff,
                                                  COMPLAINT FOR DAMAGES FOR
16
                                                  PERSONAL INJURIES; DEMAND
     vs.
17                                                FOR JURY TRIAL
18 PRINCESS CRUISE LINES, LTD.,
19
                   Defendant.
20
21
22         COMES NOW the Plaintiff, ARTHUR L. CHAROW, (hereinafter, “Plaintiff”) and
23 for a cause of action against defendant, complains and alleges as follows:
24                               JURISDICTION AND VENUE
25 1.      This is an action for damages for personal injuries, the value of which exceeds this
26 Court's minimum jurisdictional requirements, to wit, $75,000.00, exclusive of all interest
27 and costs. The injury giving rise to this action occurred while plaintiff was a fare paying
28
                                               1
               COMPLAINT FOR DAMAGES FOR PERSONAL INJURIES; DEMAND FOR JURY TRIAL
  Case 2:20-cv-00929-MWF-PJW Document 1 Filed 01/29/20 Page 2 of 4 Page ID #:2



 1 passenger aboard a cruise ship operating on navigable waters. This Court has Jurisdiction
 2 under 28 U.S.C. § 1332 as well as under the general maritime law of the United States.
 3 Venue is based on the forum selection clause included in the terms of defendant’s passage
 4 contract.
 5 2.    Defendant PRINCESS CRUISE LINES, LTD’s (hereinafter PRINCESS) passage
 6 contract purports to provide a time limit of one year from the date of injury for Plaintiff to
 7 file suit. Prior to the expiration of the one-year time limit PRINCESS entered into the first
 8 of a series of tolling agreements with Plaintiff, whereby PRINCESS agreed to extend
 9 Plaintiff’s time limit to file suit up to and including January 31, 2020.
10                                  GENERAL ALLEGATIONS
11 3.    At all times herein material, Defendant PRINCESS CRUISE LINES, LTD.,
12 (hereinafter, “PRINCESS”) was a foreign corporation with its principal place of business
13 in the state of California, the County of Los Angeles, and this judicial district.
14 4.     At all-times herein material, ARTHUR L. CHAROW was and is a resident of
15 Ontario, Canada.
16 5.    At all times herein material Defendant PRINCESS owned, operated, maintained,
17 controlled, and inspected a fleet of passenger cruise vessels, one of which was the ROYAL
18 PRINCESS (hereinafter, “vessel”), a foreign flag passenger cruise vessel which Defendant
19 utilized to transport fare paying passengers on cruises on navigable waters of the United
20 States and on the high seas.
21 6.    Prior to the departure date, Plaintiff purchased a ticket for a cruise aboard the vessel
22 with a scheduled departure from Ft. Lauderdale, Florida on February 8, 2018, and a
23 scheduled arrival date at same port on February 18, 2018, with scheduled stops at
24 intermediate ports of call, including Aruba.
25 7.    On or about February 13, 2018, at around noon, Mr. Charow was walking near the
26 pool on Deck 17 when it began to rain. He turned around to go back indoors and walked
27 on a smooth wet surface that became unreasonably slippery from rainwater. As he walked
28
                                               2
               COMPLAINT FOR DAMAGES FOR PERSONAL INJURIES; DEMAND FOR JURY TRIAL
  Case 2:20-cv-00929-MWF-PJW Document 1 Filed 01/29/20 Page 3 of 4 Page ID #:3



 1 on the slippery surface, he suddenly slipped and fell backwards hard onto his left elbow
 2 and fractured it.
 3 8.    As a direct and legal result of the incident alleged herein, Plaintiff was hurt and
 4 injured in her health, strength, and activity, sustaining severe physical injury to his body,
 5 and shock and injury, to her nervous system and person, all of which injuries have caused
 6 and continue to cause physical and emotional pain and suffering. Plaintiff is informed and
 7 believes, and thereupon alleges that some or all of the injuries will result in permanent
 8 damage, disability, pain and suffering, causing general damages in an amount within the
 9 jurisdictional requirements of this court.
10 9.     As a further direct and legal result of the incident herein alleged, it was and
11 continues to be necessary for Plaintiff ARTHUR L. CHAROW to receive medical care
12 and/or psychological care and treatment. Plaintiff is informed and believes and thereon
13 alleges that such care and treatment will be so necessary for an indefinite time in the
14 future. The cost of medical care and/or psychological care and treatment is not known at
15 this time and plaintiff alleges as damages herein the amount of such cost according to
16 proof at trial.
17                   FIRST CAUSE OF ACTION AGAINST DEFENDANT
18                               PRINCES CRUISE LINES, LTD.
19                               (Negligence-General Maritime Law)
20 10. Plaintiff re-alleges and incorporates hereby by reference Paragraphs 1 to 9,
21 inclusive, of the Jurisdiction, Venue, and General Allegations of this Complaint as though
22 the same were fully set forth.
23 11. At all material times, Defendant owed its passengers, including Plaintiff, a duty to
24 exercise reasonable care under the circumstances, including inter alia, a duty to provide
25 Plaintiff with a safe means of walking from place to place in and about the passenger areas
26 of the vessel. Defendant had a further duty to warn Plaintiff of any dangerous conditions
27
28
                                               3
               COMPLAINT FOR DAMAGES FOR PERSONAL INJURIES; DEMAND FOR JURY TRIAL
  Case 2:20-cv-00929-MWF-PJW Document 1 Filed 01/29/20 Page 4 of 4 Page ID #:4



 1 which were known to Defendant or could have been known to Defendant by reasonable
 2 inspection.
 3 12. At all material times Defendant breached its duty of care to Plaintiff by, among
 4 other things:
 5        a.     Causing and/or allowing the aforementioned dangerous conditions to exist on
 6               Deck 17;
 7        b.     Failing to take appropriate remedial action; and,
 8        c.     Failing to warn passengers, including Plaintiff, of said dangerous conditions.
 9                                            PRAYER
10        WHEREFORE, Plaintiff prays for damages against Defendant as follows:
11        1.     For general damages, according to proof;
12        2.     For medical expenses, past and future, according to proof;
13        3.     For prejudgment interest;
14        4.     For costs of suit; and,
15        5.     For other such relief as the Court may deem proper.
16                                DEMAND FOR JURY TRIAL
17        Plaintiff ARTHUR L. CHAROW hereby demands trial by jury of the above-
18 captioned matter.
19
20 Dated: January 29, 2020                         LAW OFFICES OF
                                                   AKSANA M. COONE
21
                                                   LAW OFFICES OF
22                                                 CHARLES D. NAYLOR

23                                           By:   /s/ Charles D. Naylor
                                                   Aksana M. Coone
24                                                 Charles D. Naylor
                                                   Attorneys for Plaintiff,
25                                                 ARTHUR L. CHAROW
26
27
28
                                               4
               COMPLAINT FOR DAMAGES FOR PERSONAL INJURIES; DEMAND FOR JURY TRIAL
